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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                  Charleston Division

 Nelson L. Bruce,                              )
                                               )
                                    Plaintiff, )     Civil Act. No. 2:19-cv-03456-BHH-KDW
                                               )
            v.                                 )
                                               )
 Bank of America, N.A.,                        )
                                               )
                                   Defendant. )
                                               )

      DEFENDANT BANK OF AMERICA’S RESPONSE TO PLAINTIFF’S
 MOTION TO VACATE/ FOR RELIEF UNDER FED. R. CIV. PRO. 60(B)(1) AND (2)
FROM NOVEMBER 17, 2020 (DOC. 63) ORDER DENYING PLAINTIFF’S AMENDED
                            COMPLAINT

       NOW COMES Defendant Bank of America, N.A. (“BANA”), by and through undersigned

counsel, and responds to Plaintiff Nelson Bruce’s (“Plaintiff”) Motion to Vacate/ For Relief Under

Fed. R. Civ. Pro. 60(b)(1) and (2) from November 17, 2020 Order Denying Plaintiff’s Motion to

Amend Complaint (the “Motion”) and states as follows:

                                 SUMMARY OF ARGUMENT

       Plaintiff’s untimely Motion seeks to relitigate issues already decided by this Court nearly

one year ago. In support of his Motion, Plaintiff cites zero new facts or law, and instead, simply

asks this Court to change its mind concerning an Order issued in November of last year. Fourth

Circuit precedent is clear that asking a court to change its mind concerning a matter already

litigated is not a proper basis for a motion to reconsider under the Federal Rules, and this Court

should not consider it here. Because Plaintiff’s Motion is untimely and not supported by the law

or facts of this case, the Court should deny Plaintiff’s Motion.
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                                         STATEMENT OF FACTS

         BANA limits its statement of facts in this Response to the issues raised by Plaintiff’s

Motion. For a complete factual background, BANA incorporates by reference the Statement of

Facts from its Memorandum in Support of its Motion for Summary Judgment (Doc. No. 83-1).

         On December, 12, 2019, Plaintiff filed a one count Complaint alleging that BANA violated

the Fair Credit Reporting Act, 15 U.S.C. §1682, et seq. (“FCRA”), related to BANA’s alleged soft

credit check inquiries that appeared on Plaintiff’s consumer report. (Doc. No. 1). This lawsuit is

one of six lawsuits Plaintiff has filed against BANA in this Court.1

         On August 18, 2020, Plaintiff filed a Motion to Amend Complaint. (Doc. No. 39). On

August 25, 2020, BANA filed a Response in Opposition to Plaintiff’s Motion to Amend

Complaint. (Doc. No. 41). Plaintiff filed a Reply to BANA’s Response on September 2, 2020.

(Doc. No. 43). As such, the matter was fully briefed. On October 22, 2020, Magistrate Judge

West issued a Report and Recommendation recommending that this Court deny Plaintiff’s Motion

to Amend. (Doc. No. 52).

         On November 9, 2020, Plaintiff filed an objection to Magistrate Judge West’s Report and

Recommendation. (Doc. No. 60). BANA filed a Response to that objection on November 12,

2020. (Doc. No. 61). This Court entered an Order denying Plaintiff’s Motion to Amend on

November 17, 2020. (Doc. No. 63). That Order is the subject of Plaintiff’s pending Motion.

         Plaintiff filed this Motion on July 26, 2021, asking this Court to vacate its November 17

Order under Federal Rule of Civil Procedure 60(b)(1) and (2) “so that plaintiff may proceed with

his case, civil action no. 2:20-cv-03778-BHH to seek justice and to discover further facts which




1
 The Court’s records reflect that Plaintiff has filed 5 other separate actions against BANA with the court and
attempted to remove a state court foreclosure action to this Court.

                                                          2
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are essential to plaintiffs' claims and defenses.”2 (Doc. No. 103, p.15). In his Motion, Plaintiff

stated that he filed the Motion to “give the court the opportunity to correct its mistakes that are of

a substantive legal nature.” Id. at p. 1. Because Plaintiff’s Motion is both untimely and improper

under controlling Fourth Circuit law, this Court should deny Plaintiff’s Motion.

                                            LEGAL STANDARD

        Rule 60(b) allows the court to relieve “a party ... from a final judgment, order, or

proceeding” due to (1) “mistake, inadvertence, surprise, or excusable neglect”; (2) “newly

discovered evidence”; (3) “fraud ..., misrepresentation, or misconduct”; (4) a void judgment; (5) a

satisfied, released, or discharged judgment; or (6) “any other reason that justifies relief.” Fed. R.

Civ. P. 60(b). Rule 60(b) “does not authorize a motion merely for reconsideration of a legal

issue.” United States v. Williams, 674 F.2d 310, 312 (4th Cir. 1982). “Where the motion is nothing

more than a request that the district court change its mind ... it is not authorized

by Rule 60(b).” Id. at 313. “A motion for reconsideration under Rule 60(b) is addressed to the

sound discretion of the district court and ... [is] generally granted only upon a showing of

exceptional circumstances.” Lyles v. Reynolds, C/A No. 4:14-1063-TMC, 2016 WL 1427324, at

*1 (D.S.C. Apr. 12, 2016) (citation and internal quotation marks omitted). Finally, motions for

reconsideration under Rule 60(b) must be filed “within a reasonable time—and for reasons (1),

(2), and (3) no more than a year after the entry of the judgment or order or the date of the

proceeding.” Fed. R. Civ. Pro. 60(c).

                                                 ARGUMENT




2
 It is unclear why granting Plaintiff’s Motion to Amend would allow Plaintiff to proceed in a different case number,
but nonetheless, Plaintiff has failed to identify appropriate grounds for reconsideration, and his Motion should be
denied.

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          Plaintiff’s Motion fails for at least two reasons. First, Plaintiff failed to bring his Motion

within a “reasonable time,” and therefore, his Motion is untimely. Second, Plaintiff’s Motion

simply seeks to have the Court “change its mind,” which is improper under settled Fourth Circuit

law. Thus, for either independent reason, the Court should deny Plaintiff’s Motion.

I.        Plaintiff’s Motion is Untimely.

          First, Plaintiff’s Motion, which he filed more than eight months after entry of the

November 17 Order, is untimely under the Federal Rules of Civil Procedure. For all motions

brought under Rule 60(b), the motion must be brought “within a reasonable time.” Id. For motions

brought under Rule 60(b)(1-3), the Rules state that the outer limit of what a “reasonable time” can

mean is one year from entry of the subject order. Id. The Fourth Circuit consistently holds that

motions under Rule 60(b) are untimely when they are filed “three to four months after the original

judgment and no valid reason is given for the delay.” McLawhorn v. John W. Daniel & Co., 924

F.2d 535, 538 (4th Cir. 1991) (upholding denial of Rule 60(b) motion brought three and one half

months after entry of the judgment); see also Central Operating Co. v. Utility Workers of

America, 491 F.2d 245 (4th Cir.1974) (upholding denial of Rule 60 motion based upon four month

delay); Consolidated Masonry & Fireproofing, Inc. v. Wagman Constr. Corp., 383 F.2d 249 (4th

Cir.1967) (finding no abuse of discretion for denial of motion based upon two and one half months

delay).

          Here, Plaintiff filed his Motion more than eight months after the entry of the November 17

Order. Plaintiff offered zero explanation for this delay and none appears obvious from the record.

See generally, Motion. Thus, under the clear precedent of McLawhorn, Central Operating Co.,

and Consolidated Masonry, this Court should deny Plaintiff’s Motion as untimely.




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       Moreover, BANA is prejudiced by Plaintiff’s delay in this case. Discovery closed in this

matter on March 15, 2021. (Doc. No. 70). BANA completed all discovery by this deadline based

upon the operative Complaint, and this Court’s denial of Plaintiff’s Motion to Amend. Based upon

the record existing at the close of discovery, BANA drafted and filed its Motion for Summary

Judgment and its Reply to Plaintiff’s Response in Opposition to BANA’s Motion for Summary

Judgment, which is currently pending. To allow Plaintiff to file an Amended Complaint and

effectively restart this litigation would prejudice BANA who has spent time, money, and resources

proceeding under the Rules and this Court’s previous Orders. Dowell v. State Farm Fire & Cas.

Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993) (citing Werner v. Carbo, 731 F.2d 204, 207 (4th

Cir. 1984) (“[B]efore a party may seek relief under Rule 60(b), a party first must show timeliness,

a meritorious defense, a lack of unfair prejudice to [any] opposing party, and exceptional

circumstances.”) (emphasis added)). Because Plaintiff failed to file his Motion within a reasonable

time and because that failure causes unfair prejudice to BANA, the Court should deny Plaintiff’s

Motion.

II.    Even if Plaintiff’s Motion was Timely, Plaintiff’s Motion Improperly Tries to
       Relitigate Issues Already Decided by the Court.

       As described above, Plaintiff’s Motion is untimely. Even if it were timely, Plaintiff’s

Motion improperly asks this Court to simply “change its mind,” which is improper under the

Federal Rules of Civil Procedure and controlling Fourth Circuit law. Thus, the Court should deny

Plaintiff’s Motion.

       The Fourth Circuit has made clear that where a motion seeks reconsideration of legal issues

addressed in an earlier ruling, the motion “is not authorized by Rule 60(b).” CNF Constructors,

Inc. v. Donohoe Const. Co., 57 F.3d 395, 401 (4th Cir. 1995); United States v. Williams, 674 F.2d

310, 313 (4th Cir.1982) (same); Nix v. Holbrook, No. 5:13-CV-02173-JMC, 2015 WL 1958745,

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at *2 (D.S.C. Apr. 30, 2015) (quoting Williams, 674 F.2d at 313) (“Where the motion is nothing

more than a request that the district court change its mind ... it is not authorized by Rule 60(b).”);

Regan v. City of Charleston, S.C., 40 F. Supp. 3d 698, 702 (D.S.C. 2014) (“A motion for

reconsideration is not, however, an opportunity to relitigate issues already ruled upon simply

because a party is dissatisfied with the outcome.”).

       Here, Plaintiff asks the Court to change its mind on its November 17 Order without

providing any new controlling law or facts to support that change. The parties fully briefed the

issue prior to both this Court’s ruling and Magistrate Judge West’s Report and Recommendation.

This Court was fully apprised of the grounds for the motion prior to issuing its Order. Plaintiff

has offered no new facts or controlling law that would change the Court’s analysis. Instead,

Plaintiff simply asks the Court to “correct its mistakes that are of a substantive legal nature.”

Motion, p. 1. This practice is clearly improper under controlling Fourth Circuit law. See, e.g.,

CNF Constructors, Inc., 57 F.3d at 401. Because Plaintiff’s Motion is improper under Fourth

Circuit law and under the Federal Rules of Civil Procedure, the Court should deny Plaintiff’s

Motion.

                                          CONCLUSION

       For the reasons stated above, BANA respectfully requests that this Court deny Plaintiff’s

Motion to Vacate.

This is the 2nd day of August, 2021.

                                            /s/ T. Richmond McPherson III____________
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                               CERTIFICATE OF SERVICE


       I hereby certify that on August 2, 2021, the foregoing Defendant Bank of America’s

Response to Plaintiff’s Motion to Vacate/For Relief Under Fed. R. Civ. Pro. 60(B)(1) and (2) From

November 17, 2020 (Doc. 63) Order Denying Plaintiff’s Amended Complaint was filed via the

court’s CM/ECF system and served by First Class U.S. Mail with postage prepaid upon the

following:

       Nelson L. Bruce
       144 Pavilion Street
       Summerville, SC 29483

       Pro Se Plaintiff


                                                    s/ T. Richmond McPherson III
                                                     T. Richmond McPherson III




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